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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

 ANDY KIM, in his personal
 capacity as a candidate for U.S.               No. 24-cv-01098-ZNQ-TJB
 Senate, et al.,
                                                Zahid N. Quraishi, U.S.D.J.
                    Plaintiffs,                 Tonianne J. Bongiovanni, U.S.M.J.

 v.

 CHRISTINE GIORDANO
 HANLON, in her capacity as
 Monmouth County Clerk, et al.,

                    Defendants.

   MOTION OF ELECTION LAW CLINIC AT HARVARD LAW SCHOOL
    FOR LEAVE TO FILE AMICUS CURIAE BRIEF IN SUPPORT OF
      PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

      PLEASE TAKE NOTICE that the Election Law Clinic at Harvard Law

School (“ELC”) respectfully moves this Court for leave to file the accompanying

amicus curiae brief in support of plaintiffs’ motion for preliminary injunction. The

amicus curiae brief is attached as Exhibit 1.

      In support of this motion, ELC relies on the accompanying Memorandum of

Law. A proposed order is attached.

Dated: March 12, 2024.
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                                    Respectfully submitted,

                                    s/ Ronald K. Chen
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                                    s/ Nicholas O. Stephanopoulos
                                    Nicholas O. Stephanopoulos
                                    Pro hac vice motion pending
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